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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION
CIGNA CORPORATION,                              )
                                                )
        Plaintiff(s),                           )
                                                )
   v.                                           )      No. 4:23-CV-00093-SEP
                                                )
AMY BRICKER, et al.,                            )
                                                )
        Defendant(s).                           )
                                                )

           ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT
                   Complete one option and file this report with the Clerk's Office
                                            Option 1
         The neutral elects to extend the deadline for completing ADR for 14 days and will
         continue efforts to assist the parties in reaching a settlement. Revised completion
         deadline: _____________.
                    5/30/25            Such an election by the neutral is permitted once during the
         span of a mediation in a single case. If the parties require more time to complete
         mediation, lead counsel must file a motion with the Court.
                                            Option 2
         An ADR conference was held on: __________________________________.
         All required individuals, parties, counsel of record, corporate representatives, and/or
         claims professionals attended and participated in the ADR conference(s) in good faith,
         and each possessed the requisite settlement authority;
         The following individuals, parties, counsel of record, corporate representatives, and/or
         claims professionals failed to appear and/or participate in good faith as ordered:
         ______________________________________________________________.
                                                            Case settled before scheduled mediation
         The ADR referral was concluded on ____________________________.
                                            5/30/25
         The parties [□
                     XXdid □ did not] achieve a settlement. Check one
                                            Option 3
  XX     Although this case was referred to ADR, a conference WAS NOT HELD. - Case settled before
                                                                                      scheduled mediation.
              Date: ____________________
                      6/9/25                     Neutral: _____________________________
                                                           s/ Stephen C. Williams

                                                           WILLIAMS, STEPHEN C.
                                                           Signature
